 UNITEDCase  STATES      DISTRICT COURT
                   1:20-cr-00112-SHS            Document 24 Filed 10/19/20 Page 1 of 1
 SOUTHERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                                    :   20-Cr-112 (SHS)

                 -v-                                          :   ORDER

 LAGARIA SLAUGHTER,                                           :

                                   Defendant.                 :

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 SIDNEY H. STEIN, U.S.D.J.

         A plea via videoconference is scheduled to take place in this matter via Skype on
 October 29, 2020, at 12:00 p.m. The Skype link will be emailed to all participants. To optimize
 use of the Court’s video conferencing technology, all participants in the call must:
         Use a browser other than Microsoft Explorer to access Skype for Business;
         Position the participant’s device as close to the WiFi router as is feasible;
         Ensure any others in the participant’s household are not using WiFi during the period of
 the call;
        Unless the participant is using a mobile telephone to access Skype for Business, connect
 to audio by having the system call the participant; and
         If there is ambient noise, the participant must mute his or her device when not speaking.
Co-counsel, members of the press, and the public may access the audio feed of the conference by
dialing 917-933-216 and entering Participant Code: 992953943.

Dated: New York, New York
       October 19, 2020
